Case No. 1:21-cv-01382-GPG-NRN Document 83-1 filed 06/20/23 USDC Colorado pg 1 of
                                      4




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


   Civil Action No. 21-cv-01382-GPG-NRN

   ANDREW SCHOBER,
                  Plaintiff,
   v.
   BENEDICT THOMPSON, OLIVER READ,
   EDWARD J. THOMPSON, CLAIRE
   L. THOMPSON, PAUL READ, and HAZEL
   DAVINA WELLS,
                  Defendants.


                          DECLARATION OF ANDREW SCHOBER




         1.     I, Andrew Schober, pursuant to 28 U.S.C. § 1746, hereby declare under

   penalty of perjury under the laws of the United States of America that the following is

   true and correct, unless stated upon information and belief:

         2.     I am the Plaintiff in this action, and currently reside in Boulder, Colorado.

   This declaration is based upon my personal knowledge of the matters set forth herein.

         3.     I respectfully submit this declaration in support of my Cross Motion for

   Summary Judgment.

         4.     I have worked as a Licensed Massage Therapist since 2013.

         5.     In 2020, I became board-certified as an Open-Source Intelligence (OSINT)

   analyst through the McAfee Institute. I also received the Open-Source Intelligence

   Professional Certification through the IntelTechniques online training and through the

   Automating OSINT with Python course offered by Dark River Systems.




                                               1
Case No. 1:21-cv-01382-GPG-NRN Document 83-1 filed 06/20/23 USDC Colorado pg 2 of
                                      4




          6.     I first bought Bitcoin in early 2014, investing $10 to $100 periodically until

   2018. My largest purchase was $1,000 on my 30th birthday. Due to the increasing value

   of Bitcoin over time, by January 2018 these small investments constituted the vast

   majority of my net wealth.

          7.     My long term vision and intention was to use my Bitcoin funds to buy a

   house and go back to school.

          8.     I purchased my ASUS laptop in 2016 with Malwarebyte anti-virus

   protection.

          9.     I was not aware of “clipboard-hijacking” malware in January 2018. I

   subsequently learned that the Malware was apparently novel in the cryptocurrency

   domain.

          10.    I have never been to the United Kingdom. The burden of traveling to the

   United Kingdom, or attempting to litigate my claims there, would be significant for me.

          11.    I first connected with Dr. Nicolas Bax (Nick) on the “r/Monero” “subreddit”

   on Reddit.com. Nick informed me that he was employed full-time as a Ph.D. candidate

   at Stanford University, and he was a professional blockchain analyst for a company

   called, Merkle Data.

          12.    At my direction, two professional malware analysts examined the

   Malware, and neither analyst could find any data or information that might lead to the

   identification of any person responsible. I informed the FBI of the results.

          13.    In February 2018, I turned my laptop over to the FBI for further analysis of

   the Malware and my computer.




                                                2
Case No. 1:21-cv-01382-GPG-NRN Document 83-1 filed 06/20/23 USDC Colorado pg 3 of
                                      4




         14.     I did not learn of the connection between the operator of the Malware and

   the stolen Bitcoin, until November 2019, after I discovered a feature in the Shapeshift

   API. I learned of this connection after spending between 1,000 to 2,000 hours

   conducting online investigations: uncovering social media posts, searching online

   forums, examining GitHub (code repository) logs, learning how to trace different

   cryptocurrency blockchains through public APIs, learning the Python scripting language,

   and acquiring and applying various other Open-Source Intelligence tools and

   techniques.

         15.     I learned a technique for looking up cryptocurrency transaction data

   through ShapeShift’s public API, and I spent no less than 100 hours developing

   software code (a script) that I could use to help me look for a connection between an

   identifiable person and the Vanity Address, which Nick and I had uncovered using

   Shapeshift’s API.

         16.     The key information that led me to uncover the identities of Defendants

   Benedict Thompson and Oliver Read (neither of whom have uncommon names in

   England) were the public online posts and comments to the web forums Reddit, GitHub,

   Twitter, the Bitcoin Developer Mailing List, and Keybase.io. These posts referenced

   information that I cross-verified with blockchain transaction records involving the

   Malware addresses, the Bitfinex and ShapeShift exchange platforms, and the

   cryptocurrency   addresses    controlled   by   Benedict   Thompson. Later, the FBI

   corroborated my findings.

         17.     I spent $2,009 to replace my ASUS laptop.

         18.     I spent $3,800 on my various OSINT trainings and certifications.




                                               3
Case No. 1:21-cv-01382-GPG-NRN Document 83-1 filed 06/20/23 USDC Colorado pg 4 of
                                      4




         19.   I spent $5,000 to serve all Defendants.

         20.   I have spent in excess of $50,000 in legal fees to date.




   Dated: 6/19/2023        Andrew Schober
                            ANDREW SCHOBER




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